Case 1:21-cr-00582-CRC Document 59-1 Filed 04/04/22 Page 1 of 3




                EXHIBIT A
            Case 1:21-cr-00582-CRC Document 59-1 Filed 04/04/22 Page 2 of 3



SENT VIA EMAIL                                              Weil, Gotshal & Manges LLP

                                                                                    2001 M Street, NW Suite 600
                                                                                         Washington, DC 20036
                                                                                            +1 202 682 7000 tel
                                                                                           +1 202 857 0940 fax

April 1, 2022                                                                                 Steven A. Tyrrell




Michael Bosworth, Esq.
Latham & Watkins LLP
1271 Avenue of the Americas
New York, NY 10020

In re: US. v. Sussmann, Case No. 1:2 l-cr-00582-CRC

Dear Mr. Bosworth,

I am writing regarding your subpoena for testimony at trial in the above-referenced matter that I
accepted service of on March 30, 2022, on behalf of my client, Rodney Joffe. For the reasons set forth
below, my client will invoke his rights under the Fifth Amendment if called to testify at trial, even
though he very much wants to set the record straight about the allegations against him and believes he
can provide exculpatory information concerning the allegations against your client, Michael Sussmann.

On March 31, the day after receipt of the subpoena, I spoke by telephone with representatives of the
Office of Special Counsel ("OSC") in an effort to obtain sufficient information from which I could
assess and advise my client whether he has a credible fear of prosecution. I then explained that I had
requested an update because my client had received your trial subpoena. Given the impending trial date,
I stated that we wished to inform you as soon as possible whether Mr. Joffe intends to invoke his Fifth
Amendment rights if called to testify. I indicated that Mr. Joffe has a desire to testify, but he has
concerns about doing so ifhe is a subject of the OSC' s investigation. In response, Mr. Defilippis
confirmed that Mr. Joffe remains a subject of the investigation (as he has been since our first contact
with the OSC fifteen months ago). I then asked if Mr. DeFilippis could explain what basis remains for
Mr. Joffe's possible prosecution. Rather than provide any additional information to aid in our
assessment of the risk of prosecution, Mr. Defilippis stated that in his view, Mr. Joffe's status in the
investigation was sufficient to establish a good faith basis to invoke the privilege against self-
incrimination. Mr. Defilippis further stated that OSC did not want to get into any more detail, and
presumed that Latham would understand if Mr. Joffe decided to invoke.

I then stated to Mr. DeFilippis that more than five years has elapsed since the events that are described
in the indictment against your client and the OSC's related public filings, including the September 19,
2016, meeting with the FBI and the February 9, 201 7, meeting with REDACTED , and asked what other basis
the OSC might have to charge Joffe with criminal conduct. Mr. Defilippis replied in general terms that
            Case 1:21-cr-00582-CRC Document 59-1 Filed 04/04/22 Page 3 of 3



Mr. Michael Bosworth                                                        Wall, Batahal A 118.Dgaa LLP
April 1, 2022
Page2




while it was fair to say that the Alfa-related allegations tied back to Sussmann's September 19, 2016
meeting, the Yota phone-related allegations continued to "percolate through various branches of the
government and around the private sector after that date, in various forms." Defilippis further noted that
certain fraud statutes have longer than a five-year limitations period, although he did not specify what
statutes might be implicated by the events in question. Beyond that, Mr. Defilippis was W1willing to
comment further. In light of Mr. Defilippis' Wlwillingness to provide additional information, I asked
whether he ever envisioned an end to my client' status as a subject of the OSC's investigation, and if so,
when that might be. Mr. Defilippis indicated that he was Wlable to put an end date on the investigation
at this point, and that it would depend upon various factors, including the conduct in question and the
applicability of various limitations periods. Finally, I asked whether the OSC would be willing to let me
know if and when the investigation as to Joffe concludes, and Mr. Defilippis said that he would do so.

Based on these circumstances, as well as our concern that the OSC has advanced extremely aggressive,
if not unprecedented theories of prosecution, and has evinced an unwillingness to consider exculpatory
evidence that we have presented, my client will invoke his rights W1der the Fifth Amendment if called as
a witness at your client's upcoming trial. If you have any questions or would like to discuss this matter,
please let m know.
